     ORAL
USCA Case   ARGUMENT
          #24-1113     SCHEDULED
                   Document #2068096 FOR Filed:
                                         SEPTEMBER
                                                08/02/202416, Page
                                                              2024 1 of 47

              United States Court of Appeals
            for the District of Columbia Circuit

                                  No. 24-1113
                  (and Consolidated Cases 24-1130 & 24-1183)


                     TIKTOK INC. and BYTEDANCE LTD.,
                                                          Petitioners,
                                        v.
             MERRICK B. GARLAND, in his official capacity as
                 Attorney General of the United States,
                                                         Respondent.
                  (For Continuation of Caption See Inside Cover)
                         ––––––––––––––––––––––––––––––
         On Petitions for Review of Constitutionality of the Protecting
        Americans from Foreign Adversary Controlled Applications Act
BRIEF OF AMICI CURIAE CHAIRMAN OF THE SELECT COMMITTEE
  ON THE CCP JOHN R. MOOLENAAR, RANKING MEMBER RAJA
KRISHNAMOORTHI, AND FIFTY-FIVE MEMBERS OF CONGRESS IN
                 SUPPORT OF RESPONDENT

                                             THOMAS M. JOHNSON, JR.
                                             JEREMY J. BROGGI
                                             JOEL S. NOLETTE
                                             DANIEL T. PARK
                                             WILEY REIN LLP
                                             2050 M Street NW
                                             Washington, DC 20036
                                             Phone: (202) 719-7000
                                             Fax: (202) 719-7049
                                             tmjohnson@wiley.law
                                             jbroggi@wiley.law
                                             jnolette@wiley.law
                                             dpark@wiley.law

                                             Counsel for Amici Curiae
 August 2, 2024
USCA Case #24-1113   Document #2068096        Filed: 08/02/2024       Page 2 of 47
                       BRIAN FIREBAUGH, et al.,
                                                       Petitioners,
                                    v.
             MERRICK B. GARLAND, in his official capacity as
                 Attorney General of the United States,
                                                       Respondent.
                      ––––––––––––––––––––––––––––––
                         BASED POLITICS INC.,
                                                       Petitioner,
                                    v.
             MERRICK B. GARLAND, in his official capacity as
                 Attorney General of the United States,
                                                       Respondent.
USCA Case #24-1113       Document #2068096           Filed: 08/02/2024   Page 3 of 47

                 CERTIFICATE AS TO PARTIES, RULINGS,
                         AND RELATED CASES

      Amici Curiae Chairman of the Select Committee on the Strategic Competition

Between the United States and the Chinese Communist Party John R. Moolenaar,

Ranking Member Raja Krishnamoorthi, and Fifty-Five Members of Congress pro-

vide the following information in accordance with Circuit Rule 28(a)(1):

      A.     Parties and Amici

      Except for the following, the parties, intervenors, and amici appearing in this

Court in these consolidated cases are listed in the Brief of Petitioners TikTok Inc.

and ByteDance Ltd. As of the finalization of this brief, amici appearing in this Court

in these consolidated cases are Electronic Frontier Foundation; Freedom of the Press

Foundation; TechFreedom; Media Law Resource Center; Center for Democracy and

Technology; First Amendment Coalition; Freedom to Read Foundation; Cato Insti-

tute; Matthew Steilen; Arizona Asian American Native Hawaiian and Pacific Is-

lander for Equity Coalition; Asian American Federation; Asian Americans Advanc-

ing Justice Southern California; Calos Coalition; Hispanic Heritage Foundation;

Muslim Public Affairs Council; Native Realities; OCA-Asian Pacific American Ad-

vocates of Greater Seattle; OCA-Asian Pacific American Advocates: San Francisco;

OCA-Greater Philadelphia; South Asian Legal Defense Fund; Sikh Coalition; Sad-

hana; Knight First Amendment Institute at Columbia University; Free Press; PEN

American Center; Milton Mueller; Timothy H. Edgar; Susan A. Aaronson; Hans



                                          i
USCA Case #24-1113       Document #2068096          Filed: 08/02/2024   Page 4 of 47

Klein; Hungry Panda US, Inc.; Shubhangi Agarwalla; Enrique Armijo; Derek Bam-

bauer; Jane Bambauer; Elettra Bietti; Ashutosh Bhagwat; Stuart N. Brotman;

Anupam Chander; Erwin Chemerinsky; James Grimmelmann; Nikolas Guggen-

berger; G. S. Hans; Robert A. Heverly; Michael Karanicolas; Kate Klonick; Mark

Lemley; David S. Levine; Yvette Joy Liebesman; Dylan K. Moses; Sean O’Brien;

Christopher J. Sprigman; the Honorable Michael B. Mukasey; the Honorable Jeff

Sessions; the Honorable Chris Inglis; the Honorable Christopher A. Ford; the Hon-

orable Michelle Van Cleave; the Honorable William Evanina; Gus P. Coldebella;

Margaret M. Peterlin; Vice Admiral (Ret.) Mike LeFever, Norman T. Roule, Dr.

Lenora P. Gant; Paula Doyle; Teresa H. Shea; Michael Geffroy; Geof Kahn; Jamil

N. Jaffer; Rick “Ozzie” Nelson; Andrew Borene; and Edward Fishman.

      B.       Ruling Under Review

      Petitioners seek direct review of the constitutionality of the Protecting Amer-

icans from Foreign Adversary Controlled Applications Act, Pub. L. No. 118-50, Div.

H, 138 Stat. 895, 955–60 (2024). There are no prior rulings under review.

      C.       Related Cases

      These cases were not previously before this Court or any other court. Counsel

for Amici Curiae are not aware of any other case currently pending before this or

any other court that is related to these cases within the meaning of Circuit Rule

28(a)(1)(C).




                                         ii
USCA Case #24-1113   Document #2068096   Filed: 08/02/2024   Page 5 of 47

August 2, 2024                           /s/ Thomas M. Johnson, Jr.
                                         Thomas M. Johnson, Jr.
                                         Jeremy J. Broggi
                                         Joel S. Nolette
                                         Daniel T. Park
                                         WILEY REIN LLP
                                         2050 M Street NW
                                         Washington, DC 20036
                                         Phone: (202) 719-7000
                                         Fax: (202) 719-7049
                                         tmjohnson@wiley.law
                                         jbroggi@wiley.law
                                         jnolette@wiley.law
                                         dpark@wiley.law

                                         Counsel for Amici Curiae




                                  iii
USCA Case #24-1113      Document #2068096           Filed: 08/02/2024   Page 6 of 47



                    CIRCUIT RULE 29(D) CERTIFICATE

      Amici Curiae Chairman of the Select Committee on the Strategic Competition

Between the United States and the Chinese Communist Party John R. Moolenaar,

Ranking Member Raja Krishnamoorthi, and Fifty-Five Members of Congress certify

that a separate amicus brief is necessary. This brief provides the unique perspective

of Members of Congress on the constitutionality and importance of the law under

review.



August 2, 2024                                      /s/ Thomas M. Johnson, Jr.
                                                    Thomas M. Johnson, Jr.
                                                    Jeremy J. Broggi
                                                    Joel S. Nolette
                                                    Daniel T. Park
                                                    WILEY REIN LLP
                                                    2050 M Street NW
                                                    Washington, DC 20036
                                                    Phone: (202) 719-7000
                                                    Fax: (202) 719-7049
                                                    tmjohnson@wiley.law
                                                    jbroggi@wiley.law
                                                    jnolette@wiley.law
                                                    dpark@wiley.law

                                                    Counsel for Amici Curiae




                                         iv
USCA Case #24-1113                  Document #2068096                      Filed: 08/02/2024            Page 7 of 47



                                         TABLE OF CONTENTS

 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES ............. i

 CIRCUIT RULE 29(D) CERTIFICATE ................................................................. iv

 TABLE OF AUTHORITIES ................................................................................... vi

 GLOSSARY............................................................................................................. xi

 STATEMENT OF INTEREST OF AMICI CURIAE ................................................1

 STATUTES AND REGULATIONS .........................................................................2

 INTRODUCTION AND SUMMARY OF ARGUMENT ........................................2

 ARGUMENT .............................................................................................................4

I.       The Constitution Vests Congress With Authority To Protect Americans
         From Foreign National Security Threats. ........................................................ 4

II.      Congress Appropriately Exercised Its Constitutional Authority By
         Enacting The Divestiture Act........................................................................... 7

                   Congress Identified Specific Threats from Foreign Adversaries,
                   Including China. ....................................................................................7

                   Congress Chose to Respond to Those Threats Through Tailored
                   Means that Regulate More Narrowly than Other Foreign
                   Ownership Statutes. .............................................................................16

III.     Petitioners’ Constitutional Objections Are Meritless. ................................... 20

          A.       The Divestiture Act Does Not Regulate Free Speech. ........................20

          B.       The Divestiture Act Does Not Apply to TikTok Petitioners with
                   the Requisite “Specificity” or “Punish” Them. ...................................25

 CONCLUSION ........................................................................................................28




                                                            v
USCA Case #24-1113                 Document #2068096                      Filed: 08/02/2024           Page 8 of 47



                                     TABLE OF AUTHORITIES

                                                                                                            Page(s)

Cases

Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc.,
  591 U.S. 430 (2020) ..................................................................................3, 20, 25

Am. Soc’y of Ass’n Execs. v. United States,
  195 F.3d 47 (D.C. Cir. 1999) .............................................................................. 23

Arcara v. Cloud Books, Inc.,
   478 U.S. 697 (1986) ............................................................................................ 22

Bank Markazi v. Peterson,
  578 U.S. 212 (2016) .............................................................................................. 6

Bartlett v. Lockwood,
  160 U.S. 357 (1896) .............................................................................................. 5

Batterton v. Marshall,
   648 F.2d 694 (D.C. Cir. 1980) .............................................................................. 7

Bd. of Trs. of Univ. of Ill. v. United States,
   289 U.S. 48 (1933) ................................................................................................ 5

BellSouth Corp. v. FCC,
   162 F.3d 678 (D.C. Cir. 1998) ......................................................................26–27

Benz v. Compania Naviera Hidalgo, S.A.,
  353 U.S. 138 (1957) .............................................................................................. 6

Buttfield v. Stranahan,
   192 U.S. 470 (1904) .............................................................................................. 5

Cohen v. Cowles Media Co.,
  501 U.S. 663 (1991) ............................................................................................ 24

Harisiades v. Shaughnessy,
  342 U.S. 580 (1952) .............................................................................................. 6




                                                          vi
USCA Case #24-1113                 Document #2068096                      Filed: 08/02/2024           Page 9 of 47



Holder v. Humanitarian Law Project,
  561 U.S. 1 (2010) .................................................................................................. 6

Huawei Techs. USA, Inc. v. United States,
  440 F. Supp. 3d 607 (E.D. Tex. 2020) ................................................................ 20

INS v. Chadha,
   462 U.S. 919 (1983) .............................................................................................. 7

Int’l Franchise Ass’n v. City of Seattle,
    803 F.3d 389 (9th Cir. 2015) .............................................................................. 23

Islamic Am. Relief Agency v. Gonzales,
    477 F.3d 728 (D.C. Cir. 2007) .............................................................................. 6

Kaspersky Lab, Inc. v. U.S. Dep’t of Homeland Sec.,
  909 F.3d 446 (D.C. Cir. 2018) ..................................................................9, 26–27

McCulloch v. Maryland,
  17 U.S. (4 Wheat.) 316 (1819) ............................................................................. 4

Moody v. NetChoice, LLC,
  144 S. Ct. 2383 (2024) ........................................................................................ 21

Moving Phones P’ship L.P. v. FCC,
  998 F.2d 1051 (D.C. Cir. 1993) .......................................................................... 18

Nixon v. Adm’r of Gen. Servs.,
   433 U.S. 425 (1977) ............................................................................................ 27

Regan v. Wald,
  468 U.S. 222 (1984) .............................................................................................. 6

SEC v. Jarkesy,
  144 S. Ct. 2117 (2024) .......................................................................................... 5

Selective Serv. Sys. v. Minn. Pub. Int. Res. Grp.,
   468 U.S. 841 (1984) ......................................................................................26, 28

Simpson v. Shepard,
   230 U.S. 352 (1913) .............................................................................................. 5




                                                          vii
USCA Case #24-1113                 Document #2068096                      Filed: 08/02/2024             Page 10 of 47



Sorrell v. IMS Health Inc.,
   564 U.S. 552 (2011) ............................................................................................ 22

Turner Broad. Sys., Inc. v. FCC,
   512 U.S. 622 (1994) ............................................................................................ 12

Univ. of Penn. v. EEOC,
  493 U.S. 182 (1990) ......................................................................................23–24

Wine & Spirits Retailers, Inc. v. Rhode Island,
  418 F.3d 36 (1st Cir. 2005) ................................................................................. 23

Wisconsin v. Mitchell,
  508 U.S. 476 (1993) ............................................................................................ 22

Youngstown Sheet & Tube Co. v. Sawyer,
  343 U.S. 579 (1952) .......................................................................................... 4, 7

Statutes, Rules, and Related Materials

15 C.F.R. § 791.4 ....................................................................................................... 7

47 U.S.C. § 310 ........................................................................................................ 17

Data Security Law of 2021 ...................................................................................... 13

Counter-Espionage Law of 2023 ............................................................................. 14

H.R. Rep. No. 118-417 (2024) ...............................................................10, 12–14, 16

H.R. Res. 11, 118th Cong. (2023)............................................................................ 10

H.R. Res. 1051, 118th Cong. (2024) .....................................................10, 12–16, 24

National Intelligence Law of 2017 .......................................................................... 13

Pub. L. No. 100-418, 102 Stat. 1107 (1988) ............................................................ 18

Pub. L. No. 106-65, 113 Stat. 512 (1999) .................................................................. 8

Pub. L. No. 110-49, 121 Stat. 246 (2007) ................................................................ 18

Pub. L. No. 110-181, 122 Stat. 3 (2008) .................................................................... 8



                                                           viii
USCA Case #24-1113                  Document #2068096                         Filed: 08/02/2024             Page 11 of 47



Pub. L. No. 112-239, 126 Stat. 1632 (2013) .............................................................. 8

Pub. L. No. 115-232, 132 Stat. 1636 (2018) ........................................................8, 19

Pub. L. No. 116-92, 133 Stat. 1198 (2019) ................................................................ 8

Pub. L. No. 116-124, 134 Stat. 158 (2020) .............................................................. 19

Pub. L. No. 116-283, 134 Stat. 3388 (2021) .............................................................. 8

Pub. L. No. 117-55, 135 Stat. 423 (2021) ................................................................ 19

Pub. L. No. 117-328, 136 Stat. 4459 (2022) ............................................................ 12

Pub. L. No. 118-50, 138 Stat. 895 (2024) ........................................1, 2, 7, 15–18, 22

U.S. Const. art. I, § 8, cl. 3 ......................................................................................... 4

U.S. Const. art. I, § 9, cl. 3 ....................................................................................... 25

Other Authorities

1 Laurence H. Tribe, American Constitutional Law § 5-18 (3d ed.
   2000) ..................................................................................................................... 6

1 Ronald D. Rotunda & John E. Nowak, Treatise on Constitutional
   Law—Substance & Procedure § 4.2(a), Westlaw (updated July
   2024) ..................................................................................................................... 5

Echo Wang, China’s Kunlun Tech Agrees to U.S. Demand to Sell
  Grindr Gay Dating App, Reuters (May 13, 2019) .............................................. 19

Full Committee Hearing on TikTok: How Congress Can Safeguard
   American Data Privacy and Protect Children from Online Harms
   Before the House Energy & Com. Comm., 118th Cong. (2023) ...........11–12, 24

Hearing on the CCP Cyber Threat to the American Homeland and
  National Security Before the Select Comm. on the CCP, 118th
  Cong. (2024) .................................................................................................11–12

Hearing on CCP Transnational Repression: The Party’s Effort to
  Silence and Coerce Critics Overseas Before the Select Comm. on
  the CCP, 118th Cong. (2023) ............................................................................. 11



                                                              ix
USCA Case #24-1113                  Document #2068096                       Filed: 08/02/2024              Page 12 of 47



Hearing on the Chinese Communist Party’s Threat to America Before
  the Select Comm. on the CCP, 118th Cong. (2023) ........................................... 10

Hearing on Commanding Heights: Ensuring U.S. Leadership in the
  Critical and Emerging Technologies of the 21st Century Before the
  Select Comm. on the CCP, 118th Cong. (2023) ................................................. 10

Hearing on Risky Business: Growing Peril for American Companies
  in China Before the Select Comm. on the CCP, 118th Cong. (2023) ................ 11

Hearing on TikTok: How Congress Can Safeguard American Data
  Privacy and Protect Children from Online Harms Before the
  House Energy & Com. Comm., 118th Cong. (2023) .......................................... 11

Hearing on Worldwide Threats Before the Senate Select Comm. on In-
  tel., 118th Cong. (2024) ..................................................................................... 11

Katja Drinhausen & Helena Legarda, “Comprehensive National
  Security” Unleashed: How Xi’s Approach Shapes China’s Policies
  at Home and Abroad, Mercator Institute for China Studies (Sept.
  15, 2022) ............................................................................................................. 14

Letter of Sens. Schumer and Cotton to Acting Dir. Nat’l Intel. (Oct.
   23, 2019) ............................................................................................................. 10

Michael Ramsey, The Constitution’s Text in Foreign Affairs (2007) ....................... 5

Off. of the Dir. of Nat’l Intel., Annual Threat Assessment of the U.S.
   Intelligence Community (Feb. 6, 2023) ................................................................ 9

Rubio, Warner Call for Investigation into TikTok After Chinese
  Communist Party’s Access to U.S. Data Comes to Light (July 6,
  2022) ................................................................................................................... 15

Sebastian Rotella, Even on U.S. Campuses, China Cracks Down on
   Students Who Speak Out, ProPublica (Nov. 30, 2021) .................................14–15

TikTok: Technology Overview and Issues, Cong. Rsch. Serv. (updated
   June 30, 2023) ...................................................................................................... 9

U.S. Dep’t of Just., Justice Manual § 9-90.730 (updated Nov. 2022) ...................... 9




                                                              x
USCA Case #24-1113   Document #2068096        Filed: 08/02/2024   Page 13 of 47



                              GLOSSARY

CCP                   Chinese Communist Party

CFIUS                 Committee on Foreign Investment in the United States

NDAA                  National Defense Authorization Act

PRC                   People’s Republic of China




                                    xi
USCA Case #24-1113      Document #2068096            Filed: 08/02/2024    Page 14 of 47



              STATEMENT OF INTEREST OF AMICI CURIAE1

      Amici Curiae Chairman of the Select Committee on the Strategic Competition

Between the United States and the Chinese Communist Party John R. Moolenaar,

Ranking Member Raja Krishnamoorthi, and Fifty-Five Members of Congress (listed

in the Appendix) are Members of the United States Senate and the United States

House of Representatives who seek to protect all Americans from foreign adversary

controlled applications that present a clear national security threat to the United

States.

      Earlier this year, wide bipartisan majorities in Congress enacted and President

Biden signed the Protecting Americans from Foreign Adversary Controlled Appli-

cations Act, Pub. L. No. 118-50, Div. H, 138 Stat. 895, 955–60 (2024) (“Divestiture

Act”) (and a near-identical precursor to this law was introduced by the bipartisan

leaders of the Select Committee on the CCP, unanimously reported out of the House

Energy and Commerce Committee with a 50-0 vote, and passed the House by a vote

of 352-65-1). Contrary to the claims of Petitioners in these cases, the Divestiture

Act does not regulate speech or require any social-media company to stop operating

in the United States. The Divestiture Act is instead focused entirely on the regulation


1
  All parties have consented to the filing of this brief. No party’s counsel authored
this brief in whole or in part; no party or party’s counsel contributed money intended
to fund the brief’s preparation or submission; and no person other than Amici Curiae
or their counsel contributed money intended to fund the brief’s preparation or sub-
mission.


                                          1
USCA Case #24-1113       Document #2068096            Filed: 08/02/2024    Page 15 of 47



of foreign adversary control and provides a clear, achievable path for affected com-

panies to resolve the pressing and non-hypothetical national security threats posed

by their current ownership structures. Because the Constitution invests the political

branches and especially Congress with responsibility and authority to protect the

American people from foreign threats, Amici Curiae have a strong interest in sup-

porting the Divestiture Act.

                        STATUTES AND REGULATIONS

      All applicable statutes are contained in the Brief of Petitioners TikTok Inc.

and ByteDance Ltd. (“TikTok Br.”).

            INTRODUCTION AND SUMMARY OF ARGUMENT

      In the Divestiture Act, Congress determined that foreign adversary controlled

applications that present a clear and significant national security threat should not be

permitted to access application stores or web hosting services in the United States.

To stop foreign adversaries from targeting, surveilling, and conducting covert re-

pression campaigns against the American people through social media and related

applications, the Divestiture Act requires companies controlled by the Democratic

People’s Republic of North Korea, the People’s Republic of China, the Russian Fed-

eration, and the Islamic Republic of Iran to divest themselves of that control or face

restrictions in the United States. Divestiture Act §§ 2(a), 2(c); see id. § 2(g)(4) (cit-

ing 10 U.S.C. § 4872(d)(2)).



                                           2
USCA Case #24-1113       Document #2068096           Filed: 08/02/2024    Page 16 of 47



      In enacting the Divestiture Act, Congress exercised the authorities and respon-

sibilities vested in it by Article I of the Constitution of the United States. Backed by

extensive factfinding about the national security threat to the American people posed

by certain foreign adversary controlled applications, the Divestiture Act resembles

and, indeed, is narrower than numerous other restrictions on foreign ownership that

Congress has enacted in other statutory regimes. Congress did not transcend the

limits imposed by the First Amendment and other constitutional restraints, because

“it is long settled as a matter of American constitutional law that foreign citizens

outside U.S. territory do not possess rights under the U.S. Constitution,” Agency for

Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 591 U.S. 430, 433 (2020), and because

the Divestiture Act regulates business conduct not speech.

      ByteDance and TikTok (“TikTok Petitioners”) say they would prefer an ex-

ecutive judgment under subsection 2(g)(3)(B) rather than a congressional judgment

under subsection 2(g)(3)(A). But that overlooks Congress’s power to regulate both

foreign commerce and its power to regulate domestic interstate commerce. That

Congress elected to ascertain foreign adversary control itself rather than delegate its

authority to the executive branch is, if anything, a point in the statute’s favor. And

because the Divestiture Act prescribes prospective steps that TikTok Petitioners and

other companies may voluntarily take to avoid its prohibitions in the United States,




                                           3
USCA Case #24-1113       Document #2068096           Filed: 08/02/2024    Page 17 of 47



rather than punishing them for any past conduct, TikTok Petitioners’ arguments

based on the Bill of Attainder Clause are meritless.

                                    ARGUMENT

I.    The Constitution Vests Congress With Authority To Protect Americans
      From Foreign National Security Threats.

      The Constitution establishes Congress as the Nation’s lawmaker. The first

clause of Article I provides that “All legislative Powers” are “vested in a Congress

of the United States, which shall consist of a Senate and House of Representatives.”

As the Constitution makes clear, “[t]he Founders of this Nation entrusted the law

making power to the Congress alone.” Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579, 589 (1952).

      Congress may legislate pursuant to its constitutional powers with any purpose

not constitutionally prohibited. See McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316,

421 (1819) (“Let the end be legitimate, let it be within the scope of the constitution,

and all means which are appropriate, which are plainly adapted to that end, which

are not prohibited, but consist with the letter and spirit of the constitution, are con-

stitutional.”). And Congress’s lawmaking power includes authority to regulate both

foreign and interstate commerce.

      With respect to foreign commerce, the Foreign Commerce Clause grants Con-

gress authority to “regulate Commerce with foreign nations.” U.S. Const. art. I, § 8,

cl. 3. This authority has many applications reflecting Congress’s power to protect


                                           4
USCA Case #24-1113       Document #2068096            Filed: 08/02/2024    Page 18 of 47



national security. “[F]rom the beginning[,] Congress has exercised a plenary power

in respect to the exclusion of merchandise brought from foreign countries.” Buttfield

v. Stranahan, 192 U.S. 470, 492 (1904); see also SEC v. Jarkesy, 144 S. Ct. 2117,

2132 (2024) (noting how, in Buttfield, the Court held that “Congress’s power over

foreign commerce . . . was so total that no party had a ‘vested right’ to import any-

thing into the country”). Congress can “establish quarantine regulations, and to pro-

tect the country as respects its commerce from contagious and infectious diseases.”

See Bartlett v. Lockwood, 160 U.S. 357, 361 (1896); accord Simpson v. Shepard,

230 U.S. 352, 406 (1913). And Congress may “pass embargo and non-intercourse

laws.” Bd. of Trs. of Univ. of Ill. v. United States, 289 U.S. 48, 58 (1933) (internal

quotation marks omitted); see also 1 Ronald D. Rotunda & John E. Nowak, Treatise

on Constitutional Law—Substance & Procedure § 4.2(a), Westlaw (updated July

2024) (“The Constitution as originally framed seems . . . to recognize a virtually un-

limited power of Congress over commerce with foreign nations.”).

      The Divestiture Act is also a routine exercise of Congress’s interstate com-

merce power. To be sure, the law relates to national security and foreign affairs.

But because it regulates domestic activity, it stands at the core of Congress’s law-

making power. See Michael Ramsey, The Constitution’s Text in Foreign Affairs 6

(2007) (“[A]ltering rights and duties within the domestic legal system, even in pur-

suit of foreign affairs objectives, . . . is a ‘legislative’ (lawmaking) function, not an



                                           5
USCA Case #24-1113       Document #2068096           Filed: 08/02/2024    Page 19 of 47



executive one.”). As “[f]ully eleven of the powers that Article I, § 8 grants Congress

deal in some way with foreign affairs,” 1 Laurence H. Tribe, American Constitu-

tional Law § 5-18 (3d ed. 2000), Congress is on especially strong footing here.

      Because “Congress . . . has the facilities necessary to make fairly” the “im-

portant policy decision[s]” in the “delicate field of international relations,” Benz v.

Compania Naviera Hidalgo, S.A., 353 U.S. 138, 147 (1957), judicial review in this

area is, as a rule, “extremely deferential.” Islamic Am. Relief Agency v. Gonzales,

477 F.3d 728, 734 (D.C. Cir. 2007); see, e.g., Bank Markazi v. Peterson, 578 U.S.

212, 234 (2016); Regan v. Wald, 468 U.S. 222, 242 (1984); Harisiades v. Shaugh-

nessy, 342 U.S. 580, 589 (1952). Per the Framers’ design, the “sensitive and weighty

interests of national security and foreign affairs” should be addressed by Congress,

and courts are “not to substitute . . . [their] own evaluation of evidence for a reason-

able evaluation by the Legislative Branch.” Holder v. Humanitarian Law Project,

561 U.S. 1, 33–34 (2010) (collecting authorities).

      For these reasons, TikTok Petitioners err in suggesting that Congress is not

qualified to make its own judgment about the national security threat posed by the

PRC’s control of those companies and must instead provide those companies with

the process it supplied to other entities, including judicial review of factual findings

made by the executive branch. See TikTok Br. 39–43. But executive processes are




                                           6
USCA Case #24-1113       Document #2068096           Filed: 08/02/2024    Page 20 of 47



at most a second-best option, adopted to “reintroduce public participation and fair-

ness to affected parties after governmental authority ha[d] been delegated to unrep-

resentative agencies.” See Batterton v. Marshall, 648 F.2d 694, 703 (D.C. Cir.

1980). Congress represents the people, answers to the people, and is constitutionally

empowered to establish and delimit executive discretion in the realm of foreign com-

merce. See Youngstown, 343 U.S. at 585. The “single, finely wrought and exhaust-

ively considered, procedure” set forth in Article I, INS v. Chadha, 462 U.S. 919, 951

(1983), is constitutionally adequate.

II.   Congress Appropriately Exercised Its Constitutional Authority By En-
      acting The Divestiture Act.

      The Divestiture Act is backed by extensive legislative factfinding demonstrat-

ing that foreign adversary nations seek to exploit applications including social media

to target, surveil, and conduct other covert activities (including transnational repres-

sion) against the American people. The Divestiture Act resembles, but is narrower

than, similar foreign ownership regulations that have been on the books for decades

and upheld by the courts.

             Congress Identified Specific Threats from Foreign Adversaries, In-
             cluding China.

      The Divestiture Act targets specific safety and national security threats posed

by foreign adversary nations, including the PRC. See Divestiture Act § 2(g)(4) (cit-

ing 10 U.S.C. § 4872(d)(2)); accord 15 C.F.R. § 791.4(a) (recognizing that these



                                           7
USCA Case #24-1113       Document #2068096           Filed: 08/02/2024    Page 21 of 47



countries “have engaged in a long-term pattern or serious instances of conduct sig-

nificantly adverse to the national security of the United States or security and safety

of United States persons”). It is the product of extensive legislative factfinding going

back decades.

      For instance, since 1999, Congress has required the Secretary of Defense to

submit to it an annual report on PRC strategy. See National Defense Authorization

Act for Fiscal Year 2000, Pub. L. No. 106-65, § 1202(a)–(b), 113 Stat. 512, 781–82

(1999). Over the years, the content Congress required the Secretary of Defense to

cover in that report has ballooned to include many specifics about the PRC’s cyber

strategy and malicious actions via digital media. See, e.g., NDAA for Fiscal Year

2008, Pub. L. No. 110-181, § 1263, 122 Stat. 3, 407 (2008); NDAA for Fiscal Year

2013, Pub. L. No. 112-239, § 1271, 126 Stat. 1632, 2022 (2013); John S. McCain

NDAA for Fiscal Year 2019, Pub. L. No. 115-232, § 1260, 132 Stat. 1636, 2059

(2018); NDAA for Fiscal Year 2020, Pub. L. No. 116-92, § 1260, 133 Stat. 1198,

1677–78 (2019). And Congress has required the President to report on the PRC’s

“use of intelligence networks to exploit open research and development” and

“[m]alicious cyber activities,” NDAA for Fiscal Year 2019 § 1261, as well as efforts

to “deter industrial espionage and large-scale cyber theft of intellectual property and

personal information” by the PRC, William M. (Mac) Thornberry NDAA for Fiscal

Year 2021, Pub. L. No. 116-283, § 1260F, 134 Stat. 3388, 3963–64 (2021).



                                           8
USCA Case #24-1113      Document #2068096           Filed: 08/02/2024    Page 22 of 47



      Congress has long understood how internet-based applications can be a vector

exploited by foreign adversaries to compromise Americans’ devices and to surveil,

covertly influence, and repress. See generally, e.g., Kaspersky Lab, Inc. v. U.S.

Dep’t of Homeland Sec., 909 F.3d 446 (D.C. Cir. 2018) (discussing the ban Congress

imposed on Kaspersky Lab’s cybersecurity software in the NDAA for Fiscal Year

2018). And it has been advised repeatedly about the threats posed by the PRC’s

“cyber espionage operations.” See Off. of the Dir. of Nat’l Intel., Annual Threat

Assessment of the U.S. Intelligence Community 10 (Feb. 6, 2023), https://ti-

nyurl.com/5n6r6k68. Moreover, Congress understood that foreign adversary con-

trolled applications present espionage and counter-intelligence risks that cannot be

remedied through less restrictive means, such as traditional counter-intelligence

mechanisms like defensive briefings. See U.S. Dep’t of Just., Justice Manual § 9-

90.730 (updated Nov. 2022).

      All this legislative factfinding enabled Congress to assess the national security

risk posed by foreign adversary controlled applications generally, as well as the con-

nection between the PRC and ByteDance (the owner of the TikTok social-media

application) in this instance. In its current form, TikTok began operations in the

United States in August 2018. See TikTok: Technology Overview and Issues, Cong.

Rsch. Serv. (updated June 30, 2023), https://tinyurl.com/mvejaz84. More or less

immediately, legislators began investigating the “national security risks” it posed.



                                          9
USCA Case #24-1113     Document #2068096          Filed: 08/02/2024   Page 23 of 47



See Letter of Sens. Schumer and Cotton to Acting Dir. Nat’l Intel. (Oct. 23, 2019),

https://tinyurl.com/2t7bfwz7. Subsequently, recognizing the threat posed by the

CCP more generally, a wide and bipartisan majority of the House of Representatives

(365-65) voted to establish the Select Committee on the CCP, to investigate and

make policy recommendations to address that threat. See H.R. Res. 11, 118th Cong.

(2023).

      The Select Committee on the CCP and the Senate Select Committee on Intel-

ligence have held numerous classified briefings and open hearings on the threat

posed by the CCP generally as well as through TikTok specifically. See Amended

Public Redacted Brief for Respondent (“Gov’t Br.”) 2, 11; see also H.R. Rep. No.

118-417, at 10–11 (2024); H.R. Res. 1051, 118th Cong. (2024).

      For instance, the Select Committee on the CCP heard about the CCP’s grand

strategy and the threats it poses to America generally. See Hearing on the Chinese

Communist Party’s Threat to America Before the Select Comm. on the CCP, 118th

Cong. (2023), https://tinyurl.com/4p94n5jj. Numerous national-security-and-tech-

nology experts testified about the PRC’s technology ambitions. See Hearing on

Commanding Heights: Ensuring U.S. Leadership in the Critical and Emerging

Technologies of the 21st Century Before the Select Comm. on the CCP, 118th Cong.

(2023), https://tinyurl.com/4rfkpruy. Witnesses testified about the PRC’s laws and




                                        10
USCA Case #24-1113     Document #2068096          Filed: 08/02/2024   Page 24 of 47



practices requiring nominally private enterprises to engage in clandestine coopera-

tion with PRC authorities. See Hearing on Risky Business: Growing Peril for Amer-

ican Companies in China Before the Select Comm. on the CCP, 118th Cong. (2023),

https://tinyurl.com/49f72hvd. Government cybersecurity officials testified about

cyber threats the CCP poses to the United States. See Hearing on the CCP Cyber

Threat to the American Homeland and National Security Before the Select Comm.

on the CCP, 118th Cong. (2024), https://tinyurl.com/448fh89a (“CCP Cyber Threat

Hearing”). And witnesses testified about the CCP’s campaign of transnational re-

pression. See Hearing on CCP Transnational Repression: The Party’s Effort to Si-

lence and Coerce Critics Overseas Before the Select Comm. on the CCP, 118th

Cong. (2023), https://tinyurl.com/3yjsc45f.

      Similarly, the Senate Select Committee on Intelligence held numerous open

and closed hearings on foreign covert intelligence operations leveraging social-me-

dia platforms, including receiving testimony from the Director of the FBI on the

national security threat posed by TikTok during its annual Worldwide Threats hear-

ing. See Hearing on Worldwide Threats Before the Senate Select Comm. on Intel.,

118th Cong., at 01:08:53–01:11:01 (2024), https://tinyurl.com/4pehm887.

      Not only that, but in March 2023, TikTok Inc. CEO Shou Zi Chew testified

before Congress for approximately five hours. See generally Full Committee Hear-

ing on TikTok: How Congress Can Safeguard American Data Privacy and Protect



                                        11
USCA Case #24-1113      Document #2068096           Filed: 08/02/2024    Page 25 of 47



Children from Online Harms Before the House Energy & Com. Comm., 118th Cong.

(2023), https://tinyurl.com/mpanhcfa (“TikTok Hearing”).

      Acting on the information it has obtained over this time, Congress previously

enacted the No TikTok on Government Devices Act, prohibiting government offi-

cials from downloading or using TikTok on their government devices. Consolidated

Appropriations Act, 2023, Pub. L. No. 117-328, Div. R, § 101, 136 Stat. 4459, 5258–

59 (2022). The Divestiture Act—spearheaded by the then-Chairman and the Rank-

ing Member of the Select Committee on the CCP and sponsored by the current

Chairman—followed this thorough investigative process. See, e.g., H.R. Res. 1051.

The findings undergirding the law bear this out.2

      As the Report on H.R. 7521—what became the Divestiture Act—of the House

Committee on Energy and Commerce details, there are “tight interlinkages” between

ByteDance, TikTok, and the CCP. H.R. Rep. No. 118-417, at 3; accord H.R. Res.

1051. Through TikTok, the PRC not only can “control data collection on millions

of users” but also can “control the software on millions of devices” and thus “com-

promise” them. See CCP Cyber Threat Hearing, supra, at 00:43:30–00:45:08 (Tes-

timony of FBI Director Wray); see also H.R. Res. 1051 (referencing this testimony).




2
   Of course, “Congress is not obligated, when enacting its statutes, to make a record
. . . to accommodate judicial review.” Turner Broad. Sys., Inc. v. FCC, 512 U.S.
622, 666 (1994) (plurality opinion). But there is one here.


                                         12
USCA Case #24-1113      Document #2068096            Filed: 08/02/2024    Page 26 of 47



       Among the ways this is so, the PRC is able to coerce companies headquartered

there—like ByteDance—to “surrender all its data to the PRC,” no matter “where

that data was collected.” See H.R. Rep. No. 118-417, at 3–4; see also H.R. Res.

1051 (reciting the President’s determination in 2020 that “TikTok’s ownership by

ByteDance Ltd. enables the [PRC] . . . and [CCP] . . . to gain access to ‘Americans’

personal and proprietary information’”). Several recent PRC laws underscore this

threat. See H.R. Rep. No. 118-417, at 4; H.R. Res. 1051.

       For instance, the National Intelligence Law of 2017 requires that “[a]ll organ-

izations and citizens shall support, assist, and cooperate with national intelligence

efforts.”   See National Intelligence Law of 2017, ch. I, art. 7, https://ti-

nyurl.com/5n6cbxdc. Among other things, this means that PRC security and intel-

ligence forces can require organizations like ByteDance—along with their subsidi-

aries anywhere around the globe—to “provide necessary support, assistance, and

cooperation,” which includes giving those forces access to collect all “relevant files,

materials or items.” Id. ch. II, arts. 14–16. Also, the Data Security Law of 2021

gives PRC authorities jurisdiction over “data handling activities” outside of the Chi-

nese mainland and requires all “relevant organizations and individuals” to “cooper-

ate” when “[p]ublic security organs and state security organs collect[] data as nec-

essary to lawfully preserve national security or investigate crimes.” See Data Secu-

rity Law of 2021, ch. I, art. 2; ch. IV, art. 35, https://tinyurl.com/mrxvv8b6. And the



                                          13
USCA Case #24-1113       Document #2068096           Filed: 08/02/2024   Page 27 of 47



PRC’s recently revised Counter-Espionage Law mandates that any technological in-

novations be accessible to PRC authorities for use to further the PRC’s state security

and intelligence goals. See Counter-Espionage Law of 2023, ch. I, art. 8; ch. IV,

arts. 44, 49; ch. V, art. 59, https://tinyurl.com/yb5yvtsx.

      These laws—paired with Chairman Xi Jinping’s dramatic broadening of the

country’s conception of national security, see, e.g., Katja Drinhausen & Helena Le-

garda, “Comprehensive National Security” Unleashed: How Xi’s Approach Shapes

China’s Policies at Home and Abroad, Mercator Institute for China Studies (Sept.

15, 2022), https://tinyurl.com/yvfmdrdy—mean that ByteDance must comply with

virtually any data request from the PRC, including a request for TikTok data. The

national security risks that such access could pose in a conflict hardly require enu-

meration.

      And the threat of all this being weaponized for surveillance, covert influence,

and transnational repression is not hypothetical. As has been reported, the CCP and

others have used TikTok to spy on pro-democracy protestors in Hong Kong and to

conduct “surreptitious surveillance” on U.S. citizen journalists. See H.R. Rep. No.

118-417, at 5 & n.22, 8 & n.45, 9; H.R. Res. 1051 (reciting then-National Security

Advisor Robert O’Brien’s statement that “the CCP uses TikTok . . . to collect per-

sonal, private, and intimate data on Americans to use ‘for malign purposes’”); see

also Sebastian Rotella, Even on U.S. Campuses, China Cracks Down on Students



                                          14
USCA Case #24-1113        Document #2068096          Filed: 08/02/2024    Page 28 of 47



Who Speak Out, ProPublica (Nov. 30, 2021), https://tinyurl.com/4ky4d244 (docu-

menting how the PRC uses social-media applications to surveil, target, and persecute

U.S.-based dissidents).

      Congress therefore determined that addressing this existing and future threat

for designated social-media applications, including TikTok, required excising the

foreign adversary control from the applications. And with respect to TikTok in par-

ticular, Congress considered half-measures that have been proposed (so-called “Pro-

ject Texas”) and concluded that they are neither reliable, see, e.g., Rubio, Warner

Call for Investigation into TikTok After Chinese Communist Party’s Access to U.S.

Data Comes to Light (July 6, 2022), https://tinyurl.com/423m2z4x (documenting

“TikTok’s misrepresentation” about its corporate structure that “undermine[d]

longstanding claims by TikTok’s management that the company’s operations were

firewalled from the CCP’s demands”), nor adequate, see H.R. Res. 1051 (finding

that “Project Texas” would still expose Americans to “malicious code, backdoor

vulnerabilities, surreptitious surveillance, and other problematic activities” deriving

from the PRC).3




3
 Along with the Divestiture Act, Congress also enacted the Protecting Americans’
Data from Foreign Adversaries Act, see Pub. L. No. 118-50, Div. I, 138 Stat. 895,
960–63 (2024). This law addresses a related national security problem—data-broker
sales of Americans’ data to foreign adversaries.


                                          15
USCA Case #24-1113      Document #2068096          Filed: 08/02/2024    Page 29 of 47



      Indeed, through extensive discussions with TikTok’s senior corporate man-

agement, congressional committees identified myriad deficiencies in the proposed

national security agreement offered by TikTok Petitioners, as well as residual risks

that could not be resolved through any behavioral remedies stipulated to by the Com-

mittee on Foreign Investment in the United States (particularly given documented

instances of the company’s misrepresentation over its corporate governance, data

security, and other practices). See, e.g., H.R. Rep. 118-417 at 4–5; H.R. Res. 1051.

Congress thus determined that the Divestiture Act is the least restrictive way to re-

solve the national security threat because nothing short of addressing TikTok’s for-

eign adversary control can address such risks.

             Congress Chose to Respond to Those Threats Through Tailored
             Means that Regulate More Narrowly than Other Foreign Owner-
             ship Statutes.

      Accordingly, Congress passed the Divestiture Act. Contrary to Petitioners’

contentions, the Divestiture Act neither bans any social-media application nor im-

poses any regulation on speech. For apps whose operators choose to keep them

“controlled by a foreign adversary” after a specified time, the law (1) prohibits app

stores from “distribut[ing], maintain[ing], or updat[ing]” foreign adversary con-

trolled applications “within the land or maritime borders of the United States” by

means of an online application store and (2) prohibits internet hosting services from

providing such “services to enable the distribution, maintenance, or updating” of



                                         16
USCA Case #24-1113       Document #2068096            Filed: 08/02/2024     Page 30 of 47



foreign adversary controlled applications “within the land or maritime borders of the

United States.” Divestiture Act § 2(a)(1)–(3), 2(c). But the Divestiture Act gives

companies that operate “foreign adversary controlled applications” in the United

States a way to continue offering uninterrupted services in the United States without

threatening national security—by taking prescribed steps to eliminate foreign adver-

sary control over the application. See id. § 2(c)(1); id. § 2(g)(3), (6).

      The Divestiture Act not only reflects specific intelligence Congress consid-

ered about the impact of foreign adversary control on ByteDance and its applica-

tions; it is also representative of longstanding congressional concern about the po-

tential national security risks posed by foreign control of American companies. In-

deed, the Act is narrower than other, similar foreign ownership regulations, includ-

ing ones that have been upheld against constitutional challenge.

      For instance, in the Communications Act of 1934, Congress generally prohib-

ited foreign-incorporated or -owned companies from holding radio spectrum li-

censes. See 47 U.S.C. § 310(b)(2)–(3). Under § 310, a company qualifies as foreign

owned if more than twenty percent of its stock is owned by foreign persons or enti-

ties. See id. § 310(b)(3). The Divestiture Act follows this model, similarly adopting

a foreign incorporation rule as well as a “20 percent stake” threshold in defining

what it means for a company to be “controlled by a foreign adversary.” Divestiture




                                           17
USCA Case #24-1113      Document #2068096            Filed: 08/02/2024    Page 31 of 47



Act § 2(g)(1)(A)–(B). That said, the Divestiture Act is narrower: while the Commu-

nications Act applies universally, the Divestiture Act applies only to applications

that present a “significant threat to the national security of the United States,” have

a large user base, and are ultimately controlled by one of four foreign adversary

nations. See id. § 2(g)(3)(B)(ii); id. § 2(g)(2); id. § 2(g)(4) (citing 10 U.S.C.

§ 4872(d)(2)).

      This Court has upheld § 310’s foreign ownership ban against constitutional

attack. In Moving Phones Partnership L.P. v. FCC, 998 F.2d 1051 (D.C. Cir. 1993),

the court recognized that § 310 “reflect[ed] a long-standing determination to safe-

guard the United States from foreign influence in broadcasting.” Id. at 1055 (inter-

nal quotation marks omitted). And in the face of an equal-protection challenge to

§ 310, the court applied rational-basis scrutiny and found that the statute easily

passed given the “national security policy” underlying it. See id. at 1056.

      Consider also CFIUS, an interagency body with authority to review, block,

and even unwind after-the-fact corporate mergers, acquisitions, or takeovers that

“could result in foreign control” over domestic commerce. Omnibus Trade and

Competitiveness Act of 1988, Pub. L. No. 100-418, § 5021, 102 Stat. 1107, 1425–

26 (1988); Foreign Investment and National Security Act of 2007, Pub. L. No. 110-

49, § 3, 121 Stat. 246, 252 (2007). Recently, this authority has been exercised to

require the divestiture of an American app owned by a Chinese company. See, e.g.,



                                          18
USCA Case #24-1113      Document #2068096           Filed: 08/02/2024   Page 32 of 47



Echo Wang, China’s Kunlun Tech Agrees to U.S. Demand to Sell Grindr Gay Dating

App, Reuters (May 13, 2019), https://tinyurl.com/yhsc6hrs. The Divestiture Act

complements the much broader authority granted to CFIUS by regulating with par-

ticularity a narrowly defined class of foreign adversary controlled applications.

      More recently, Congress has adopted other measures that specifically target

the national security threat posed by CCP control of companies involved in supply-

ing communications network infrastructure. For example, in the NDAA for Fiscal

Year 2019, Congress prohibited federal agencies from using telecommunications

equipment produced by several entities affiliated with the PRC, including Huawei

and ZTE. See Pub. L. No. 115-232, § 889. Then, in 2019, Congress required the

FCC to create a list of “covered communications equipment or services” on which

federal funds could not be spent, and the law defined those as communications or

services that “pose[] an unacceptable risk to the national security.” Secure and

Trusted Communications Networks Act, Pub. L. No. 116-124, § 2, 134 Stat. 158,

158–59 (2020). In that law, Congress required the FCC to include as “covered” the

equipment produced by the specific entities identified in the NDAA for Fiscal Year

2019. See id. § 2(c)(3). And in 2021, Congress passed the Secure Equipment Act,

Pub. L. No. 117-55, 135 Stat. 423 (2021), specifying that the FCC could not author-

ize the use of such “covered” equipment. See id. § 2(a)(2).




                                         19
USCA Case #24-1113       Document #2068096            Filed: 08/02/2024    Page 33 of 47



       In these laws, too, Congress identified specific companies that posed a threat

to American data security due to Chinese corporate ownership. And the first law in

this series, the NDAA for Fiscal Year 2019, has been upheld against constitutional

challenge claiming that the law improperly singled out specific companies. See

Huawei Techs. USA, Inc. v. United States, 440 F. Supp. 3d 607, 628–54 (E.D. Tex.

2020). The Divestiture Act is no different.

III.   Petitioners’ Constitutional Objections Are Meritless.

       A.    The Divestiture Act Does Not Regulate Free Speech.

       Petitioners’ principal argument is that the Divestiture Act violates their First

Amendment rights. TikTok. Br. 28–61; Opening Br. of Creator Pet’rs 23–62; Br. of

Pet’r BASED Politics Inc. 14–30. That is wrong.

       First, “it is long settled as a matter of American constitutional law that foreign

citizens outside U.S. territory do not possess rights under the U.S. Constitution.”

Agency for Int’l Dev., 591 U.S. at 433 (collecting cases); see also id. at 433, 439

(holding that “legally distinct foreign affiliates” of American corporations “possess

no rights under the U.S. Constitution”). That forecloses any First Amendment

claim—as well as any other constitutional claim—by ByteDance, which concedes

that it is a foreign incorporated holding company and in its brief asserts no operations

within the United States. See TikTok Br. 6–7.




                                           20
USCA Case #24-1113      Document #2068096           Filed: 08/02/2024    Page 34 of 47



      The same principle appears to foreclose any argument by Petitioner TikTok

as well. Although “TikTok Inc.” is “an American company incorporated and head-

quartered in California,” its “ultimate parent is ByteDance Ltd.” TikTok Br. 6. And,

as Justice Barrett recently explained, “a social-media platform’s foreign ownership

and control over its content-moderation decisions might affect whether” the First

Amendment applies, even for a U.S.-based company. Moody v. NetChoice, LLC,

144 S. Ct. 2383, 2410 (2024) (concurring). TikTok says here that its “U.S. applica-

tion is highly integrated with the global TikTok application” and “runs on billions

of lines of code that have been developed over multiple years by a team of thousands

of global engineers.” TikTok Br. 21, 23 (cleaned); see also id. at 32 (“A post-di-

vestiture, U.S.-only TikTok would lack the recommendation engine that has driven

its success”). Those assertions, taken against the backdrop of TikTok’s foreign own-

ership structure, strongly suggest that “the platform’s corporate leadership abroad

makes the policy decisions about the viewpoints and content the platform will dis-

seminate” and that “Americans” “the corporation employs” are taking “the direction

of foreign executives.” NetChoice, 144 S. Ct. at 2410 (Barrett, J., concurring). Thus,

even if the Divestiture Act did regulate TikTok’s speech, such regulation “might

[not] . . . trigger First Amendment scrutiny.” See id.




                                         21
USCA Case #24-1113      Document #2068096           Filed: 08/02/2024    Page 35 of 47



      Second, and more fundamentally, the Divestiture Act regulates corporate

ownership over U.S.-based communications infrastructure, not speech. The Su-

preme Court has long held that “restrictions on protected expression are distinct from

restrictions on economic activity” and that “the First Amendment does not prevent”

the latter. Sorrell v. IMS Health Inc., 564 U.S. 552, 567 (2011). Also, it has “re-

ject[ed] the ‘view that an apparently limitless variety of conduct can be labeled

speech.’” Wisconsin v. Mitchell, 508 U.S. 476, 484 (1993) (quoting United States

v. O’Brien, 391 U.S. 367, 376 (1968)). Determining that speech is not at issue is

easy where the regulated conduct “manifests absolutely no element of protected ex-

pression.” Arcara v. Cloud Books, Inc., 478 U.S. 697, 705 (1986).

      That is so here. The Divestiture Act states that it “does not apply to a foreign

adversary controlled application with respect to which a qualified divestiture is exe-

cuted.” Divestiture Act § 2(c). A “qualified divestiture” is, in relevant part, “a di-

vestiture or similar transaction” that “the President determines, through an inter-

agency process, would result in the relevant foreign adversary controlled application

no longer being controlled by a foreign adversary.” Id. § 2(g)(6). Far from forcing

TikTok “to guess what type of divestiture would satisfy the President,” TikTok Br.

43; see also id. at 33, the Divestiture Act plainly sets forth the criteria by which a

company will be deemed “controlled by a foreign adversary,” see Divestiture Act

§ 2(g)(1).



                                         22
USCA Case #24-1113      Document #2068096            Filed: 08/02/2024   Page 36 of 47



      Under the Divestiture Act, therefore, TikTok can avoid any regulation what-

soever by simply divesting itself of foreign control. Because that requirement “ex-

hibits nothing that even the most vivid imagination might deem uniquely expres-

sive,” Wine & Spirits Retailers, Inc. v. Rhode Island, 418 F.3d 36, 53 (1st Cir. 2005);

Int’l Franchise Ass’n v. City of Seattle, 803 F.3d 389, 408 (9th Cir. 2015) (“A busi-

ness agreement or business dealings . . . is not conduct with a significant expressive

element”), the First Amendment does not apply.

      TikTok Petitioners do not deny that a qualified divestiture is conduct not

speech. Instead, they assert that their First Amendment rights are nevertheless bur-

dened because “the practical effect of the [Divestiture] Act is to shut TikTok down.”

TikTok Br. 31. But that plainly is not true. For one, the Divestiture Act does not

require that TikTok shut down—only that it shed foreign adversary control. Cf. Am.

Soc’y of Ass’n Execs. v. United States, 195 F.3d 47, 50 (D.C. Cir. 1999) (concluding

that a law providing “option[s]” whereby an entity “can avoid any alleged burden on

its First Amendment rights”—such as by “splitting itself into two organizations”—

does not trigger First Amendment scrutiny). As for the TikTok Petitioners’ argu-

ment that compliance might take time and be “expensive,” TikTok Br. 22, 32, similar

(and here, temporary) burdens are imposed by “many laws [that] make the exercise

of First Amendment rights more difficult,” see Univ. of Penn. v. EEOC, 493 U.S.

182, 200 (1990). But a plaintiff “cannot claim a First Amendment violation simply



                                          23
USCA Case #24-1113      Document #2068096          Filed: 08/02/2024    Page 37 of 47



because” it “may be subject to . . . government regulation.” Id. By the same token,

the Creator Petitioners and BASED Politics cannot claim a constitutional injury if

TikTok elects to shut down rather than shed its foreign adversary control.

      Further, TikTok Petitioners’ argument on this point—framed in terms of the

purported “infeasibility” of spinning off a U.S.-specific version of TikTok, see Tik-

Tok Br. 21–24—rests on a myopic reading of the Divestiture Act. ByteDance could

spin off TikTok entirely—both U.S.-based and non-U.S. operations—and avoid the

ostensible challenges posed by a “hypothetical U.S.-only TikTok.” See TikTok Br.

22.

      Though Mr. Chew testified before Congress under 18 U.S.C. § 1001 that

“ByteDance is not owned or controlled by the Chinese government,” see TikTok

Hearing, supra, at 00:20:39–00:20:50, TikTok Petitioners now suggest that the PRC

holds such sway over ByteDance that it would block this sort of transaction, see

TikTok Br. 24. But if that is so, the PRC, not the Divestiture Act, is to blame. And

the First Amendment is not triggered by that. Cf. Cohen v. Cowles Media Co., 501

U.S. 663, 671 (1991) (finding no First Amendment problem when speech restrictions

were “self-imposed”).

      TikTok Petitioners assert that “any divestiture would change TikTok’s

speech” because a “post-divestiture, U.S.-only TikTok would lack the recommenda-

tion engine that has driven its success.” TikTok Br. 32. But elsewhere, TikTok



                                         24
USCA Case #24-1113         Document #2068096          Filed: 08/02/2024    Page 38 of 47



Petitioners concede that this “recommendation engine” is in fact under the control

of a foreign adversary country. See TikTok Br. 25. TikTok Petitioners’ concession

that TikTok’s recommendation engine is ultimately controlled by the PRC merely

confirms that, to the extent that it involves expressive conduct, such conduct is un-

protected. See Agency for Int’l Dev., 591 U.S. at 433.

        TikTok Petitioners are also wrong in claiming the Divestiture Act is content-

and speaker-based. See TikTok Br. 25, 33–38. The statute creates neutral and gen-

erally applicable rules for all foreign adversary controlled applications that are de-

termined to pose a national security risk. To be sure, with respect to the TikTok

Petitioners, Congress determined that the application is controlled by a foreign ad-

versary and poses a significant national security threat and did not delegate that func-

tion to the executive branch. But Congress gave TikTok Petitioners the same divest-

ment choice and process that it gave to every other application designated under the

statute that is controlled by a foreign adversary and poses a significant national se-

curity threat.

        B.       The Divestiture Act Does Not Apply to TikTok Petitioners with the
                 Requisite “Specificity” or “Punish” Them.

        TikTok Petitioners assert that the Divestiture Act violates the Bill of Attainder

Clause.4 See U.S. Const. art. I, § 9, cl. 3. “[A]ssuming that the Bill of Attainder



4
    These Petitioners’ remaining claims also fail. See Gov’t Br. 75–76, 83–86.


                                           25
USCA Case #24-1113      Document #2068096            Filed: 08/02/2024    Page 39 of 47



Clause extends to corporations,” Kaspersky Lab, 909 F.3d at 454; see id. (explaining

“question remains open”), it is not violated here.

      To begin, the Divestiture Act does not “appl[y] with specificity.”            See

Kaspersky Lab, 909 F.3d at 454. In this context, “specificity” means “irreversible,”

“absolute barriers” such as unalterable past conduct or immutable characteristics.

See Selective Serv. Sys. v. Minn. Pub. Int. Res. Grp., 468 U.S. 841, 848–51 (1984).

That element is not satisfied here because the Divestiture Act provides a path for

foreign adversary controlled applications to shed foreign control.

      Equally important, the Divestiture Act does not impose punishment. See

Kaspersky Lab, 909 F.3d at 454. “[T]o distinguish permissible burdens from imper-

missible punishments,” the Supreme Court instructs lower courts “to conduct ‘three

necessary inquiries’”: (1) “‘whether the challenged statute falls within the historical

meaning of legislative punishment’”; (2) “‘whether the statute, viewed in terms of

the type and severity of burdens imposed, reasonably can be said to further nonpu-

nitive legislative purposes’”; and (3) “‘whether the legislative record evinces a con-

gressional intent to punish.’” Id. at 455 (quoting Selective Serv. Sys., 468 U.S. at

852). All three confirm the Divestiture Act’s constitutionality.

      First, the Divestiture Act is not a legislative punishment. A “statute that leaves

open perpetually the possibility of overcoming a legislative restriction does not fall

within the historical meaning of forbidden legislative punishment.” BellSouth Corp.



                                          26
USCA Case #24-1113         Document #2068096        Filed: 08/02/2024    Page 40 of 47



v. FCC, 162 F.3d 678, 685 (D.C. Cir. 1998) (cleaned). As discussed, the Divestiture

Act satisfies this test.

       Second, the Divestiture Act furthers nonpunitive goals. The legislative record

shows that Congress was well aware of the national security threats posed by foreign

adversary controlled applications and enacted “a rather conventional response to a

security risk: remove the risk.” Kaspersky Lab, 909 F.3d at 457. The Divestiture

Act is not “underinclusive” as to the risks Congress identified because it applies to

any foreign adversary controlled application deemed a significant national security

threat by the President and because TikTok Petitioners “posed the most urgent po-

tential threat.” See id. at 456, 459.

       Third, the legislative record evinces non-punitive intent. Again, Congress

amassed a substantial record reflecting its legitimate national security concerns with

foreign adversary controlled applications. See Section II.A., supra. And the Divest-

iture Act’s structure shows Congress’s intent reached beyond ByteDance and Tik-

Tok. See, e.g., Nixon v. Adm’r of Gen. Servs., 433 U.S. 425, 481 (1977) (“[S]pecific

aspects of the Act . . . just do not square with the claim that the Act was a punitive

measure.” (cleaned)). TikTok Petitioners’ attempt, see TikTok Br. at 19–21, 67–68,

to cherry-pick statements by individual Members of Congress to obfuscate the

clearly articulated national security purpose of the Divestiture Act and to attribute

punitive intent to those Members fails when the statements are examined in context.



                                         27
USCA Case #24-1113      Document #2068096           Filed: 08/02/2024    Page 41 of 47



And, in any event, this attempt falls far short of the “unmistakable evidence of pu-

nitive intent which is required before a Congressional enactment of this kind may be

struck down.” See Selective Serv. Sys., 468 U.S. at 855 n.15 (cleaned); see id. (“iso-

lated statements expressing understandable indignation” not enough). In introduc-

ing and passing the Divestiture Act with overwhelming bipartisan support, the Select

Committee on the CCP and Congress acted not to punish ByteDance, but to protect

national security.

                                  CONCLUSION

      The Court should deny the Petitions for Review.



August 2, 2024                                      /s/ Thomas M. Johnson, Jr.
                                                    Thomas M. Johnson, Jr.
                                                    Jeremy J. Broggi
                                                    Joel S. Nolette
                                                    Daniel T. Park
                                                    WILEY REIN LLP
                                                    2050 M Street NW
                                                    Washington, DC 20036
                                                    Phone: (202) 719-7000
                                                    Fax: (202) 719-7049
                                                    tmjohnson@wiley.law
                                                    jbroggi@wiley.law
                                                    jnolette@wiley.law
                                                    dpark@wiley.law

                                                    Counsel for Amici Curiae




                                         28
USCA Case #24-1113       Document #2068096         Filed: 08/02/2024   Page 42 of 47



                        CERTIFICATE OF COMPLIANCE

      I hereby certify, on August 2, 2024, that:


      1. This document complies with the word limit under Federal Rule of Appel-

late Procedure 32(a)(7) because, excluding the parts of the document exempted by

Federal Rule of Appellate Procedure 32(f) and Circuit Rule 32(e)(1), this document

contains 6,282 words.

      2. This document complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of Ap-

pellate Procedure 32(a)(6) because this document was prepared in a proportionally

spaced typeface using Microsoft Word for Office 365 MSO in a 14-point Times New

Roman font.


                                                   /s/ Thomas M. Johnson, Jr.
                                                   Thomas M. Johnson, Jr.
USCA Case #24-1113      Document #2068096           Filed: 08/02/2024    Page 43 of 47



                         CERTIFICATE OF SERVICE

      I certify that on August 2, 2024, a true and correct copy of this Brief of Amici

Curiae was filed and served electronically upon counsel of record registered with

the Court’s CM/ECF system.

                                                    /s/ Thomas M. Johnson, Jr.
                                                    Thomas M. Johnson, Jr.
USCA Case #24-1113    Document #2068096         Filed: 08/02/2024   Page 44 of 47



                                 APPENDIX

                        U.S. House of Representatives

          Select Committee on the CCP Chairman John R. Moolenaar

      Select Committee on the CCP Ranking Member Raja Krishnamoorthi

       Energy and Commerce Committee Chair Cathy McMorris Rodgers

       Energy and Commerce Committee Ranking Member Frank Pallone

                         Majority Leader Steve Scalise

                        Speaker Emerita Nancy Pelosi

                       Representative Jake Auchincloss

                           Representative Andy Barr

                       Representative Shontel M. Brown

                     Representative Larry Bucshon, M.D.

                         Representative Kat Cammack

                         Representative André Carson

                     Representative Earl L. “Buddy” Carter

                         Representative Kathy Castor

                           Representative Ben Cline

                         Representative Dan Crenshaw

                          Representative John Curtis

                        Representative Donald G. Davis



                                      A
USCA Case #24-1113   Document #2068096        Filed: 08/02/2024   Page 45 of 47



                       Representative Chris Deluzio

                        Representative Jeff Duncan

                     Representative Neal P. Dunn, M.D.

                       Representative Anna G. Eshoo

                      Representative Carlos Giménez

                      Representative Josh Gottheimer

                     Representative H. Morgan Griffith

                        Representative Brett Guthrie

                     Representative Diana Harshbarger

                       Representative Ashley Hinson

                         Representative John James

                       Representative Dusty Johnson

                       Representative Darin LaHood

                       Representative Robert E. Latta

                     Representative Blaine Luetkemeyer

                      Representative Jared Moskowitz

                        Representative Seth Moulton

                       Representative Dan Newhouse

                         Representative Greg Pence

                       Representative August Pfluger



                                     B
USCA Case #24-1113   Document #2068096        Filed: 08/02/2024   Page 46 of 47



                       Representative Brad Sherman

                       Representative Mikie Sherrill

                       Representative Elissa Slotkin

                     Representative Michelle Park Steel

                       Representative Elise Stefanik

                      Representative Haley M. Stevens

                       Representative Thomas Suozzi

                       Representative Ritchie Torres

                        Representative Tim Walberg

                       Representative Randy Weber

                        Representative Rob Wittman




                                     C
USCA Case #24-1113    Document #2068096        Filed: 08/02/2024   Page 47 of 47



                                U.S. Senate

      Senate Select Committee on Intelligence Vice Chairman Marco Rubio

                          Senator Marsha Blackburn

                            Senator John Cornyn

                             Senator Tom Cotton

                            Senator Josh Hawley

                            Senator Pete Ricketts

                           Senator James E. Risch

                            Senator Mike Rounds




                                     D
